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                               UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF GEORGIA^uiS .JUL                       AM il
                                        SAVANNAH DIVISION


 UNITED STATES OF AMERICA


                 V.
                                                                         4:08CR00315-23

MARION LUCHES SLAY
AKA "CHINK"



                                                ORDER


     The defendant, Marion Luches Slay, has filed a motion requesting termination of supervised

release. In support of his motion, the defendant reports that he has completed over three years of his

five-year term of supervised release, that he has remained gainfully employed, and that he has had no

encounters with law enforcement.


     The Court notes that while the defendant is currently in compliance with the terms and conditions

of supervision, at the time of sentencing he was designated a career offender due his history of drug

distribution convictions. The Court also notes that the defendant was convicted of a serious offense

involving the distribution of substantial amounts of cocaine in the Savannah area. The Court

acknowledges the defendant has performed well on supervised release thus far; however,the Court does

not consider the defendant a suitable candidate for early termination at this time.

     The defendant's motion for early termination of supervised release is DENIED.


                  SO ORDERED this                 day of _                      , 2019.



                                                              William T. Moore, Jr.
                                                              Judge, U.S. District Court
